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                                                                    USDC SDNY
UNITED STATES DISTRICT COURT                                        DOCUMENT
SOUTHERN DISTRICT OF NEW YORK                                       ELECTRONICALLY FILED
ERIN JONES,                                                         DOC #: _________________
                                                                    DATE FILED: _1/12/2021___
                              Plaintiff,

               -against-                                                  17 Civ. 4894 (AT)

THE CITY OF NEW YORK,                                                          ORDER

                        Defendant.
ANALISA TORRES, District Judge:

         The ongoing COVID-19 pandemic has necessitated substantial changes in the Court’s
trial schedule in order to ensure that jury trials can be conducted safely and practically.
Accordingly, the trial scheduled to commence on July 19, 2021, is ADJOURNED to May 9,
2022.

        By March 25, 2022, the parties shall submit a joint letter summarizing any necessary
alterations to the pretrial order, ECF No. 165, and any other matters that should be brought to the
Court’s attention in advance of trial in light of the revised schedule.

       Counsel for all parties shall appear for a final pre-trial conference on May 2, 2022, at
2:00 p.m., in Courtroom 15D of the United States Courthouse, 500 Pearl Street, New York, NY
10007.

        In light of the long delay in advance of trial, this action is STAYED pending further order
of the Court.

       SO ORDERED.

Dated: January 12, 2021
       New York, New York
